  8:04-cr-00500-JFB-FG3             Doc # 23   Filed: 05/25/05    Page 1 of 1 - Page ID # 35




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )
                vs.                               )                8:04CR500
                                                  )
CHERYL BAUMAN,                                    )         SCHEDULING ORDER
                                                  )
                       Defendant.                 )


       IT IS ORDERED that the following is set for hearing on June 1, 2005 at 1:30 p.m.
before Magistrate Judge F.A. Gossett, Courtroom No. 6, Second Floor, Roman L. Hruska U.S.
Courthouse, 111 So. 18th Plaza, Omaha, Nebraska:

         - Arraignment on Superseding Indictment

         Since this is a criminal case, the defendant must be present, unless excused by the
Court.

         DATED this 25th day of May, 2005.

                                               BY THE COURT:


                                               s/ F.A. Gossett
                                               United States Magistrate Judge
